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                           THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 MURRAY COBB (L45127),

           Plaintiff,

 v.                                                                No.: 1:24-cv-03707

 LAKE COUNTY SHERIFF’S OFFICE, LAKE                                Hon. Edmond E. Chang
 COUNTY ILLINOIS, JOHN D. IDLEBURG in his
 official capacity, RICHARD CLOUSE in his official
 capacity and personal capacity, NICHOLAS KALFAS,
 TIMOTHY REIDY, JAHAIRA LOPEZ, WELLPATH,
 LLC, CINDY WATSON in her official capacity,
 NICHOLAS PAPANOS, KERRY EHLERT-DONOVAN,
 CAROLINE PAULL, TARYN WEILER in her official
 capacity and personal capacity, RUTHANNE K. HALL
 in her official capacity, RYAN SCIAME, NICHOLAS
 FONTAINE in his official capacity and personal
 capacity, and DOE 1,

           Defendants.



                        PLAINTIFF MURRAY COBB’S STATUS REPORT

          In accordance with the Court’s January 8, 2025, Order (Dkt. 36), Plaintiff Murray Cobb

(“Cobb” or “Plaintiff”), by and through his attorneys, respectfully submit the following Status

Report.

          1.      On June 14, 2024, Plaintiff filed his original complaint. (Dkt. 9).

          2.      On December 4, 2024, the Court appointed J. Scott Humphrey to represent Plaintiff

and directed him to file an amended complaint by January 8, 2025. (Dkt. 31).

          3.      On January 6, 2025, Plaintiff filed a Motion for an Extension to file his amended

complaint (“Motion”). (Dkt. 35). In Plaintiff’s Motion, Plaintiff’s counsel represented that they




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may be able to resolve some of the issues Cobb alleges in his original complaint prior to filing the

amended complaint. (Id.).

        4.      On January 8, 2025, the Court granted Plaintiff’s Motion for an Extension to file

the amended complaint by March 6, 2025, and directed Plaintiff to file a status report by March 7,

2025. (Dkt. 36).

        5.      Plaintiff’s counsel has attempted to resolve Plaintiff’s issues prior to filing an

amended complaint. Specifically, on February 10, 2025, Plaintiff’s counsel sent a letter to

Defendants John D. Idleburg, Nicholas Kalfas, Taryn Weiler, and Wellpath, LLC requesting

certain medical treatment for Plaintiff.

        6.      The Parties have been in touch regarding the contents of the letter and disagree on

the next steps for Plaintiff’s care.

        7.      Thus, on March 6, 2025, Plaintiff, through counsel, filed his amended complaint.

(Dkt. 39).

        8.      Defendants will be served as soon as possible, and in the meantime, Plaintiff has

begun collecting potentially discoverable documents.



Dated: March 7, 2025                                 Respectfully submitted,

                                                     /s/ Katie M. Burnett
                                                     J. Scott Humphrey
                                                     Katie M. Burnett
                                                     Michael P. O’Donnell
                                                     Samantha L. Marchand
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                                        kburnett@beneschlaw.com

                                        Attorneys for Plaintiff Murray Cobb




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 7th of March, 2025 a copy of the foregoing Plaintiff Murray

Cobb’s Status Report was electronically transmitted to the Clerk’s Office using the CM/ECF

system for filing, which will send notification of such filing to each of the attorneys who filed an

appearance in this case.


                                              /s/ Katie M. Burnett
                                              Katie M. Burnett




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